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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  DECAPOLIS SYSTEMS, LLC,                          §
                                                   §
              Plaintiff,                           §
                                                   §
  v.                                               §    Case No. 2:22-cv-00146-JRG-RSP
                                                   §
  MEDSYS GROUP, LLC, TENET                         §
  HEALTHCARE CORORATION,                           §
  UNIVERSAL HEALTH SERVICES, INC.,                 §
  and TYLER TECHNOLOGIES, INC.,                    §
                                                   §
              Defendants.                          §

                                             ORDER

        Before the Court is the Stipulation of Dismissal filed by Plaintiff Decapolis Systems, LLC

 and Defendant Tenet Healthcare Corporation. Dkt. No. 51. In light of the Stipulation, which the

 Court ACCEPTS AND ACKNOWLEDGES, and pursuant to Rule 41(a)(1)(A)(ii), all claims

 asserted in this suit by Decapolis Systems against Tenet Healthcare and all counterclaims asserted

 by Tenet Healthcare against Decapolis Systems in the above-captioned case are DISMISSED

 WITH PREJUDICE, subject to terms of the Agreement between the parties. All pending requests

 for relief in the above-captioned case between Decapolis Systems and Tenet Healthcare not

 explicitly granted herein are DENIED AS MOOT. Each party is to bear its own costs, expenses,

 and attorneys’ fees.

        The Clerk of the Court is directed to MAINTAIN AS OPEN the above-captioned case.

        So Ordered this
        Nov 14, 2022
